     Case: 1:16-cv-05219 Document #: 39 Filed: 01/17/17 Page 1 of 1 PageID #:171

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Paul Alan Veld
                                            Plaintiff,
v.                                                           Case No.: 1:16−cv−05219
                                                             Honorable Amy J. St. Eve
Anselmo Lindberg Oliver, LLC, et al.
                                            Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 17, 2017:


        MINUTE entry before the Honorable Maria Valdez: Settlement conference held
on 1/17/2017. Parties unable to reach settlement at this time. All matters relating to the
referral of this action having been resolved, the case is returned to the assigned judge.
Mailed notice(lp, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
